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           In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-0386V
                                   Filed: September 14, 2015
                                           Unpublished

****************************
KATYA SIDO,                *
                           *
                           *
              Petitioner,  *                               Damages Decision Based on Proffer;
                           *                               Influenza (“flu”) vaccine; Shoulder Injury
v.                         *                               Related to Vaccine Administration
                           *                               (“SIRVA”); Special Processing Unit
                           *                               (“SPU”)
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
              Respondent.  *
****************************

Amber D. Wilson, Maglio Christopher and Toale, PA, Washington, DC, for petitioner.
Justine E. Walter, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Vowell, Special Master:

      On April 16, 2015, Katya Sido filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq, 2 [the
“Vaccine Act” or “Program”]. The petition alleged that as a result of an influenza (“flu”)
vaccination on November 1, 2013, petitioner suffered a shoulder injury related to
vaccine administration (“SIRVA”). Petition at ¶¶2, 14-15. The case was assigned to the
Special Processing Unit (“SPU”) of the Office of Special Masters.

     On June 30, 2015, I issued a ruling on entitlement, finding petitioner entitled to
compensation. On September 14, 2015, respondent filed a proffer on award of
compensation (“Proffer”) detailing compensation for all elements of compensation to
1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17, 2002). In accordance with
Vaccine Rule 18(b), petitioners have 14 days to identify and move to delete medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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which petitioner would be entitled under §15(a). According to respondent’s Proffer,
petitioner agrees to the proposed award of compensation.

     Pursuant to the terms stated in the attached Proffer, I award petitioner a lump
sum payment of $122,390.25 in the form of a check payable to petitioner.

      This amount represents compensation for all damages that would be available
under §15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3


IT IS SO ORDERED.
                                                                 s/Denise K. Vowell
                                                                 Denise K. Vowell
                                                                 Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.

                                                    2
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                               OFFICE OF SPECIAL MASTERS


                                               )
KATYA SIDO,                                    )
                                               )
                 Petitioner,                   )
                                               )       No. 15-386V
v.                                             )       Special Master Vowell
                                               )       ECF
SECRETARY OF HEALTH AND                        )       SPU
HUMAN SERVICES,                                )
                                               )
                 Respondent.                   )
                                               )

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On April 16, 2015, petitioner, Katya Sido, filed a petition for compensation under the

National Childhood Vaccine Injury Act, 42 U.S.C. §§ 300aa-10 to -34 (“Vaccine Act”), alleging

that she suffered from a right shoulder injury as a result of receiving an influenza vaccination in

her right arm on November 1, 2013. On June 29, 2015, respondent filed her Rule 4(c) Report

stating that petitioner’s right arm injury is consistent with a shoulder injury related to vaccine

administration (“SIRVA”). Respondent conceded that petitioner’s SIRVA is compensable under

the Vaccine Act. Accordingly, on June 30, 2015, Special Master Vowell issued a Ruling on

Entitlement finding that petitioner is entitled to compensation for SIRVA. For the purposes of

this proffer, the term “vaccine-related” is as described in Respondent’s Rule 4(c) Report filed on

June 29, 2015.
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I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$122,390.25, which represents all elements of compensation to which petitioner is entitled under

42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $122,390.25 in the form of a check payable to petitioner.

Petitioner agrees.

                                                Respectfully submitted,

                                                BENJAMIN C. MIZER
                                                Principal Deputy Assistant Attorney General

                                                RUPA BHATTACHARYYA
                                                Director
                                                Torts Branch, Civil Division

                                                VINCENT J. MATANOSKI
                                                Deputy Director
                                                Torts Branch, Civil Division

                                                GLENN A. MACLEOD
                                                Senior Trial Counsel
                                                Torts Branch, Civil Division

                                                 s/ Justine Walters
                                                JUSTINE WALTERS
                                                Trial Attorney
                                                Torts Branch, Civil Division
                                                U.S. Department of Justice
                                                P.O. Box 146, Benjamin Franklin Station
                                                Washington, D.C. 20044-0146
                                                Tel.: (202) 307-6393

DATE: September 14, 2015
1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.

                                                   2
